UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------X
                                                              :
 RAMON OLIVERAS,                                              :
                                              Plaintiff,      :    22 Civ. 4600 (LGS)
                                                              :
                            -against-                         :         ORDER
                                                              :
 LONG ISLAND RAILROAD COMPANY,                                :
                                              Defendant. :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the Case Management Plan and Scheduling Order, issued August 2, 2022,

set a deadline for fact discovery of December 30, 2022.

        WHEREAS, on December 6, 2022, Plaintiff filed a letter motion requesting an extension

of discovery, for the purpose of deposing two witnesses. An Order issued December 7, 2022,

denied this request. That Order directed the parties to schedule the two depositions prior to

December 30, 2022, the deadline for fact discovery.

        WHEREAS, an Amended Case Management Plan and Scheduling Order (the “Amended

CMP”), issued January 4, 2023, adjourned a case management conference to February 22, 2023,

to allow the parties to complete expert discovery. The Amended CMP did not modify the fact

discovery deadline of December 30, 2022, and the expert discovery deadline of January 31, 2023.

        WHEREAS, on January 19, 2023, the parties filed a joint status letter. The letter states

that “Defendant would like to depose [P]laintiff” and that Defendant “ha[s] not provided formal

responses to Plaintiff’s Requests for Production of Documents or Interrogatories.” The letter also

states neither party anticipates filing a dispositive motion. Pursuant to paragraph 13(b) of the

Amended CMP, this letter shall include a statement of whether or not the parties request a referral

for settlement discussions. The letter does not contain such a statement. It is hereby

        ORDERED that the parties shall file a joint letter by January 25, 2023, stating whether
the parties request a referral for settlement discussions. It is further

          ORDERED that Defendant shall serve formal responses to Plaintiff’s discovery requests

by February 3, 2023. It is further

          ORDERED that Defendant shall depose Plaintiff no later than February 10, 2023. It is

further

          ORDERED that all fact and expert discovery shall be completed by February 22, 2023.

It is further

          ORDERED that, in light of the parties’ statements that they do not plan to file dispositive

motions, the case management conference scheduled for February 22, 2023, is CANCELLED.

Following the close of fact and expert discovery on February 22, 2023, this action will be trial

ready. It is further

          ORDERED that this action will be placed in fourth place on the Court’s April 2023 trial-

ready calendar; the jury trial will begin on April 17, 2023, at 9:45 A.M., or the Court’s first

available date thereafter. It is further

          ORDERED that the parties shall be ready to proceed on 24 hours’ notice on or after April

17, 2023. It is further

          ORDERED that in accordance with and as further provided in Individual Rule IV.B:

          (1) Any motions in limine shall be filed by March 10, 2023. Responses to the motions

                shall be filed by March 17, 2023. No replies shall be filed. The parties are directed

                to the Court’s Individual Rules regarding any such motions.

          (2) Joint requests to charge, voir dire, verdict forms, and any memorandum of law, as

                provided in the Court’s Individual Rules, shall be filed by March 17, 2023.

          (3) The final pretrial order shall be filed by March 24, 2023.

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The parties are encouraged to:

       (1) Contact Courtroom Deputy James Street at (212) 805-4553 closer to the trial date if

           they wish to know where they stand on the Court’s trial ready calendar.

       (2) Confer and consent to a trial before a Magistrate Judge (per the attached form) if they

           wish to have a trial date certain or if they wish a different trial date.

The final pretrial conference will be scheduled closer to the trial date.

       No further extensions to any of the deadlines given above will be granted absent

extraordinary circumstances, which do not include a lack of diligence.

Dated: January 20, 2023
       New York, New York




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AO 85 (Rev. 02/17) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                         UNITED STATES DISTRICT COURT
                                                                            for the
                                                     SOUTHERN DISTRICT OF NEW YORK

                                                                                )
                                 Plaintiff                                      )
                                    v.                                          )     Civil Action No.

                                                                                )
                                Defendant                                       )



           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment
may then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge
may exercise this authority only if all parties voluntarily consent.


        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.


       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.


       Printed names of parties and attorneys                                 Signatures of parties or attorneys                 Dates




                                                                     Reference Order

        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.



Date:
                                                                                                    District Judge’s signature



                                                                                                     Printed name and title

Note:     Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
          magistrate judge. Do not return this form to a judge.
